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                      UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS


W.H.P.M., Inc.

v.                                           Case Number: 4:18−cv−02302

Healgen Scientific Limited Liability
Company




                              NOTICE OF SETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN SET FOR
THE PLACE, DATE AND TIME SET FORTH BELOW.


Before the Honorable
Alfred H Bennett
PLACE:       Courtroom 8C
             United States District Court
             515 Rusk Avenue
             Houston, Texas 77002
DATE: 4/5/2019

TIME: 09:00 AM
TYPE OF PROCEEDING: Status Conference


Date: March 26, 2019
                                                        David J. Bradley, Clerk
